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                                                 February 2, 2024

       VIA ECF
       Hon. Peter G. Sheridan, U.S.D.J.
       United States District Court
       402 East State Street
       Trenton, NJ 08608

                     Re:     Association of New Jersey Rifle & Pistol Clubs,
                             Inc., et al. v. Platkin, et al. (“ANJRPC”)
                                    Docket No. 3:18-cv-10507
                             Cheeseman, et al. v. Platkin, et al.
                                    Docket No. 1:22-cv-04360
                             Ellman, et al. v. Platkin, et al.
                                    Docket No. 3:22-cv-04397

       Dear Judge Sheridan:

              State Defendants 1 hereby respond to ANJRPC Plaintiffs’ supplemental-
       authority letter filed on January 26, 2024 (Dkt. 205). Their letter, regarding Lara v.
       Commissioner, 2024 WL 189453 (3d. Cir. 2024), 2 incorrectly attempts to apply that
       panel’s decision—regarding a different statute and a different record—to this case.
       Plaintiffs have no response to the State’s arguments about the inapplicability of

            1
             The Attorney General of New Jersey and Superintendent of the
            New Jersey Division of State Police as to all three matters; and the
            Camden County Prosecutor and Ocean County Prosecutor in the
            Cheeseman matter only.
            2
             A petition for rehearing en banc is anticipated, see No. 21-1832
            (3d Cir.).


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 Lara. See NJ Reply Br., Dkt. 203, at 34-37. As the State has emphasized, here, there
 is no conflict between Founding- and Reconstruction-era evidence, as both
 generations saw numerous regulations on specific weapons or accessories that posed
 a heightened public safety threat, while leaving open other avenues of self-defense.
 See id. at 30. Plaintiffs have pointed to no evidence that such regulations were seen
 as unconstitutional.

        In those situations, the Supreme Court has guided courts to look at the total
 arc of the historical tradition. Id. at 35 (collecting cases). By contrast, Lara cabined
 its holding to situations where “there is daylight between how each generation
 understood a particular right,” noting only then does the court need to “pick between
 the two timeframes.” 2024 WL 189453 at * 8, n.15. And because the Lara panel
 believed there was affirmative evidence that the Founding generation saw 18-year-
 olds as possessing a right to bear arms, id. at *9, it went on to resolve the temporal
 question in favor of Founding-era evidence. That conflict does not exist here.


                                  Respectfully submitted,

                                  MATTHEW J. PLATKIN
                                  ATTORNEY GENERAL OF NEW JERSEY



                            By:   /s/ Daniel M. Vannella_____________________
                                  Daniel M. Vannella
                                  Assistant Attorney General

 cc:   All counsel of record (via ECF)
